                       Case 5:15-cr-40086-DDC Document 381 Filed 11/17/17 Page 1 of 7
AO 245B      (Rev. 09/17 - D/KS 10/17) Judgment in a Criminal Case
             Sheet 1



                                           United States District Court
                                                            District of Kansas
           UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                       v.
                   Sean P Hall                                                Case Number:   5:15CR40086 - 005
                                                                              USM Number: 25626-031
                                                                              Defendant’s Attorney: Thomas R. Telthorst

THE DEFENDANT:

‫܈‬          pleaded guilty to count(s): 1 of a one-count Information.
‫܆‬          pleaded nolo contendere to count(s)       which was accepted by the court.
‫܆‬          was found guilty on count(s)      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

          Title & Section                                      Nature of Offense                         Offense Ended           Count

18 U.S.C. § 2421,                      CONSPIRACY TO COMMIT INTERSTATE AND                                 10/01/2015              1
18 U.S.C. § 1952,                      FOREIGN TRAVEL OR TRANSPORTATION IN AID
18 U.S.C. § 2422(a), and               OF RACKETEERING ENTERPRISES, INTERSTATE
18 U.S.C. § 371                        TRANSPORTATION FOR PURPOSES OF
                                       PROSTITUTION, INDUCEMENT OF INTERSTATE
                                       TRAVEL FOR PURPOSES OF PROSTITUTION, a Class
                                       D Felony

        The defendant is sentenced as provided in pages 1 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

‫܆‬          The defendant has been found not guilty on count(s)          .

‫܈‬          The Indictment is dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of material changes in economic
circumstances.

                                                                                                       11/13/2017
                                                                                             Date of Imposition of Judgment


                                                                                               s/ Daniel D. Crabtree
                                                                                                   Signature of Judge


                                                                                    Honorable Daniel D Crabtree, U.S. District Judge
                                                                                               Name & Title of Judge


                                                                                                     11/17/2017
                                                                                                         Date
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AO 245B     (Rev. 09/17 - D/KS 10/17) Judgment in a Criminal Case
            Sheet 2 – Imprisonment
                                                                                                                       Judgment – Page 2 of 7
DEFENDANT:   Sean P Hall
CASE NUMBER: 5:15CR40086 - 005

                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
time served.


‫܆‬         The Court makes the following recommendations to the Bureau of Prisons:


‫܆‬         The defendant is remanded to the custody of the United States Marshal.


‫܆‬         The defendant shall surrender to the United States Marshal for this district.

          ‫ ܆‬at      on     .

          ‫ ܆‬as notified by the United States Marshal.


‫܆‬         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ‫ ܆‬before       on     .

          ‫ ܆‬as notified by the United States Marshal.

          ‫ ܆‬as notified by the Probation or Pretrial Services Officer.


                                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on                                                   to

at                                                                       , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                                   By
                                                                                                        Deputy U.S. Marshal
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AO 245B     (Rev. 09/17 - D/KS 10/17) Judgment in a Criminal Case
            Sheet 3 – Supervised Release
                                                                                                                                 Judgment – Page 3 of 7
DEFENDANT:   Sean P Hall
CASE NUMBER: 5:15CR40086 - 005

                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of 3 years.




                                                  MANDATORY CONDITIONS
1.   You must not commit another federal, state, or local crime.

2.   You must not unlawfully possess a controlled substance.

3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.

          ‫܆‬    The above drug testing condition is suspended based on the court's determination that you pose a low risk of future
               substance abuse. (Check if applicable.)

4.   ‫ ܆‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution.
        (Check if applicable.)

5.   ‫܈‬    You must cooperate in the collection of DNA as directed by the probation officer. (Check if applicable.)

6.   ‫܆‬    You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed by
          the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work, are a student, or were
          convicted of a qualifying offense. (Check if applicable.)

7.   ‫܆‬    You must participate in an approved program for domestic violence. (Check if applicable.)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
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AO 245B     (Rev. 09/17 - D/KS 10/17) Judgment in a Criminal Case
            Sheet 3A – Supervised Release
                                                                                                                                  Judgment – Page 4 of 7
DEFENDANT:   Sean P Hall
CASE NUMBER: 5:15CR40086 - 005

                                  STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep
informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
     imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you
     must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or
     the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements
     (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in
     advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a
     change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
     items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If
     you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you
     plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation
     officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
     circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a
     felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed,
    or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or Tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting
    the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you to
    notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm that you
    have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. I understand additional information regarding these conditions is available at the www.uscourts.gov.



Defendant's Signature                                                                                         Date
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AO 245B    (Rev. 09/17 - D/KS 10/17) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                                    Judgment – Page 5 of 7
DEFENDANT:   Sean P Hall
CASE NUMBER: 5:15CR40086 - 005

                                    SPECIAL CONDITIONS OF SUPERVISION
1.        You must participate as directed in a cognitive behavioral program, which may include MRT, as
          approved by the United States Probation and Pretrial Services Office. You must contribute toward the
          cost of any program, to the extent you are financially able to do so, as determined by the U.S. Probation
          Officer.

2.        You must submit your person, house, residence, vehicle(s), papers, business or place of employment and
          any property under your control to a search, conducted by the United States Probation Officer at a
          reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence
          of a violation of a condition of release. Failure to submit to a search may be grounds for revocation. You
          must warn any other residents that the premises may be subject to searches pursuant to this condition.

3.        You must refrain from any contact with victims of the offense and any unsupervised contact with
          teenage female minors during the term of supervision, unless during the course of employment or
          approved by the probation officer.
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AO 245B     (Rev. 09/17 - D/KS 10/17) Judgment in a Criminal Case
            Sheet 5 – Criminal Monetary Penalties
                                                                                                                          Judgment – Page 6 of 7
DEFENDANT:   Sean P Hall
CASE NUMBER: 5:15CR40086 - 005

                                          CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the Schedule of Payments set forth in this Judgment.
                          Assessment                   JVTA Assessment*                     Fine                       Restitution

Totals:                       $100                              None                        None                         None


‫܆‬         The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

‫܆‬         The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                                                       Total Loss**         Restitution Ordered    Priority or Percentage




                        Totals:                                                  $                       $

‫܆‬         Restitution amount ordered pursuant to plea agreement $            .

‫܆‬         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options set forth
          in this Judgment may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫܆‬         The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

          ‫ ܆‬the interest requirement is waived for the ‫ ܆‬fine and/or ‫ ܆‬restitution.

          ‫ ܆‬the interest requirement for the ‫ ܆‬fine and/or ‫ ܆‬restitution is modified as follows:




*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
  on or after September 13, 1994, but before April 23, 1996.
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AO 245B      (Rev. 09/17 - D/KS 10/17) Judgment in a Criminal Case
             Sheet 6 – Schedule of Payments
                                                                                                                                         Judgment – Page 7 of 7
DEFENDANT:   Sean P Hall
CASE NUMBER: 5:15CR40086 - 005

                                                    SCHEDULE OF PAYMENTS
Criminal monetary penalties are due immediately. Having assessed the defendant's ability to pay, payment of the total criminal
monetary penalties are due as follows, but this schedule in no way abrogates or modifies the government's ability to use any lawful
means at any time to satisfy any remaining criminal monetary penalty balance, even if the defendant is in full compliance with the
payment schedule:

A       ‫܆‬       Lump sum payment of $ due immediately, balance due
                ‫ ܆‬not later than , or
                ‫ ܆‬in accordance with ‫ ܆‬C, ‫ ܆‬D, ‫ ܆‬E, or ‫ ܆‬F below; or

B       ‫܈‬       Payment to begin immediately (may be combined with ‫ ܆‬C, ‫ ܆‬D, or ‫ ܈‬F below); or

C       ‫܆‬       Payment in monthly installments of not less than 5% of the defendant's monthly gross household income over a period
                of   years to commence      days after the date of this judgment; or

D       ‫܆‬       Payment of not less than 10% of the funds deposited each month into the inmate's trust fund account and monthly
                installments of not less than 5% of the defendant's monthly gross household income over a period of     years, to
                commence       days after release from imprisonment to a term of supervision; or

E       ‫܆‬       Payment during the term of supervised release will commence within       (e.g., 30 or 60 days) after release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
                time; or

F       ‫܈‬       Special instructions regarding the payment of criminal monetary penalties:

If restitution is ordered, the Clerk, U.S. District Court, may hold and accumulate restitution payments, without distribution, until the
amount accumulated is such that the minimum distribution to any restitution victim will not be less than $25.

Payments should be made to Clerk, U.S. District Court, U.S. Courthouse - Room 204, 401 N. Market, Wichita, Kansas 67202.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫܆‬         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount and
corresponding payee, if appropriate.

Case Number
Defendant and Co-Defendant Names                                                          Joint and Several                Corresponding Payee,
(including defendant number)                                  Total Amount                    Amount                          if appropriate


‫܆‬         The defendant shall pay the cost of prosecution.

‫܆‬         The defendant shall pay the following court cost(s):

‫܆‬         The defendant shall forfeit the defendant's interest in the following property to the United States. Payments against any
          money judgment ordered as part of a forfeiture order should be made payable to the United States of America, c/o United
          States Attorney, Attn: Asset Forfeiture Unit, 1200 Epic Center, 301 N. Main, Wichita, Kansas 67202.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
